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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )     Case No. 8:11CR208
                                             )
                     Plaintiff,              )           ORDER
                                             )     TO WITHDRAW EXHIBITS
              vs.                            )     OR TO SHOW CAUSE WHY
                                             )     EXHIBITS SHOULD NOT BE
CARLOS MARTINEZ-MONZON,                      )          DESTROYED
                                             )
                     Defendant.              )


       Pursuant to NECrimR 55.1(g), defendant shall either 1) withdraw the following

exhibits previously submitted in this matter within 14 calendar days of the date of this order,

or 2) show cause why the exhibits should not be destroyed:



            Defendant’s Exhibit Number 101 From Motion Hearing Held 8/30/2011



       If counsel fails to withdraw these exhibits as directed or to show cause why the

exhibits should not be destroyed, the clerk’s office is directed to destroy the listed exhibits

without further notice to the parties or order from the court.

       IT IS SO ORDERED.

       DATED this 18th day of April, 2012.



                                                          s/ Joseph F. Bataillon
                                                          United States District Judge
